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                    UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                :

            v.                          : CRIMINAL NO. 3:23-CR-135

DAWN TROTTA                             :

            Defendant                   :

                                     ORDER

      AND NOW, this 5th day of July, 2023, IT IS ORDERED that the

above named defendant having completed the required Financial Affidavit

(Form CJA 23) in support of her request for an attorney without payment

of fee, and having certified the same to be correct;

      AND, the Court being satisfied that said individual neither is

financially able to obtain counsel nor is waiving her right to counsel;

      IT IS ORDERED that Shelley L. Centini, Esquire is hereby

appointed to represent the defendant in all matters pertaining to the

above-captioned case.

      If, at any time after this appointment, the Court finds that the party

is financially able to obtain counsel, or is able to make partial payment for

the representation, it may terminate the appointment of counsel or

authorize payment as provided in Title 18 United States Code, Section
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3006A(f). In such an event, the party may be required to reimburse all or

part of the money expended by the Court in appointing the Federal Public

Defender should it later be determined that funds are available for

payment.



                                        s/ Malachy E. Mannion
                                        Malachy E. Mannion
                                        United States District Judge
